Case 2:03-CV-02985-BBD-tmp Document 33 Filed 06/24/05 Page 1 of 2 Page|D 43

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IN THE UNITED s'rATEs DISTRICT couRT
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i‘l-`\. LJ.§.)`. [.":;-`,_-

b 4 vt
W.D. OF TN. McfviPH!S
SERGIA DELGADO,

Plaintiff,

'V'S.

Civ. No. 03-2985-D[P

EDWARD D. JONES & CO., L.P.,
d/b/a EDWARD JONES,

Defendant.

 

ORDER GRANTING IN PART PLAINTIFF'S MOTION
TO EXTEND TIME A.ND TO HOLD ALL SCHEDULING IN ABEYANCE

 

Before the court is Plaintiff’e Motion to Extend Time and to
Hold All Scheduling in Abeyance, filed May 13, 2005 (dkt #29). On
June 23, 2005, the court held a hearing. Present were Fred Ricks
(via phone) and Clinton Simpson, counsel for defendant. For good
cause shown, plaintiff ehall have ninety (90) days up to and

including August 13, 2005, to retain new counsel. All deadlines

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TU\M. PHAM
United States Magistrate Judge

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Date

are held in abeyance.

I'I` IS SO ORDERED.

 

 

 

 

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with Rule 58 and/or 79(3) FHCP on ' “

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:03-CV-02985 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

